Case 0:17-cv-60426-UU Document 21-3 Entered on FLSD Docket 03/27/2017 Page 1 of 66




                                Exhibit
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        Case 0:17-cv-60426-UU
3/21/2017                          Document
                         Sanders Concedes Missouri 21-3     Entered
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                                                                           A Sweep      Docket
                                                                                   In Tuesday     03/27/2017
                                                                                              Contests               Page 2 of 66
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   Sanders Concedes Missouri Primary, Giving Clinton A Sweep
   In Tuesday Contests
   BuzzFeed News reporters are with the candidates — McKay Coppins is in Florida with Rubio; Tarini Parti is in Ohio with Kasich; Ruby
   Cramer is in in Florida with Clinton; Adrian Carrasquillo is in Florida; and Rosie Gray is in Texas with Cruz.
   posted on Mar. 13, 2016, at 11:03 a.m.



                BuzzFeed News
                BuzzFeed Staff




                                               AP Photo/Carolyn Kaster; AP Photo/Kiichiro Sato; AP Photo/Jeff Roberson; AP Photo/Gene J. Puskar


   Catch up quickly here:                                                                         Here’s the current delegate situation:
      Hillary Clinton swept Tuesday’s primary contests, winning all
      ﬁve states after Bernie Sanders conceded Missouri on
      Thursday.



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     Trump had a very slight lead in Missouri, with the state’s
     Republican party announced a tentative tally awarding him 
     delegates. The tally gives Cruz  delegates.

     In all, ﬁve big states — Florida, Ohio, Illinois, North Carolina,
     and Missouri — voted.

     For the Republicans: Donald Trump declared winner in
     Florida, North Carolina and Illinois. An elated John Kasich
     took his home state of Ohio for his ﬁrst primary win, denying
     Trump a major win that would have cleared him out of the
     race.

     Trump appeared on stage Tuesday — and praised — his
     embattled campaign manager, who is accused of
     manhandling a Breitbart reporter.

     Sanders’ loss in Illinois comes after perhaps the best week of
     his campaign — and he still fell ﬂat.

     Here’s BuzzFeed News’s full recap of the evening — it’s what
     you need to know all in one place.




                                                                             Getty/BuzzFeed News



                           Updates

                           Posted at 3:53 p.m., Mar. 17


                           Sanders concedes Missouri to Clinton, giving her a ﬁve-
                           state sweep




https://www.buzzfeed.com/buzzfeednews/live­updates­we­are­not­exaggerating­tuesdays­primaries­will?utm_term=.ka4kNEAwx#.wnB5o8ZDj   2/19
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                           Ricardo Arduengo / AP


                           Bernie Sanders on Thursday conceded the Missouri primary to rival Hillary Clinton,
                           saying he would not invoke his right to a recount of the extremely close results.


                           Clinton ended the ﬁve-state Tuesday primary ahead of Sanders by 1,531 votes in
                           Missouri.


                           Under state law, Sanders could have sought a recount because the margin was less
                           than 0.5%. However, in an interview with the Associated Press, Sanders said he would
                           “prefer to save the taxpayers of Missouri some money.”


                           “Whether we win by 200 votes or lose by 500, it’s not going to impact the delegate
                           selection,” the senator told the AP.


                           Both Democratic candidates had been slated to get 32 delegates each. However, the
                           AP reported that Clinton will get an extra two delegates for winning the statewide vote.



                           Posted at 2:55 p.m., Mar. 16


                           Trump Wins 37 Delegates in Missouri Primary, Cruz
                           Takes 15




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                           The Missouri Republican Party has announced a tentative delegate tally from Tuesday’s
                           primary, awarding GOP frontrunner Donald Trump 37 delegates.

                           Ted Cruz won 15 delegates, according to the tentative tally.


                           Trump and Cruz were neck and neck Tuesday night when Missouri’s primary ended.
                           The race still had not oﬃcially been called Wednesday, and results showed Trump with
                           less than a .2% lead over Cruz.



                           Posted at 10:32 a.m., Mar. 16


                           Trump’s Campaign Manager Will Also Be One Of His
                           Delegates At The Convention




                           Joe Raedle / Getty Images


                           According to a list the presidential hopeful gave to New Hampshire’s secretary of state,
                           Corey Lewandowski, Trump’s campaign manager, will also serve as one of his
                           delegates at the Republican National Convention.

                           The New York Times reported that Lewandowski’s name was one of 11 delegates and
                           alternatives submitted on Feb. 26.



                           Posted at 10:00 a.m., Mar. 16


                           Fox News Channel Cancels March 21 Debate In Utah
                           After two candidates on Wednesday announced they would not be participating in the
                           March 21 debate hosted by Fox News in Salt Lake City, the network decided to cancel
                           the event altogether.

                           Local NBC aﬃliate KSL 5 reported that Fox News notiﬁed the Utah venue Wednesday
                           morning local time.

                           The Republican National Committee later conﬁrmed the decision to NBC.




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                                      Katy Tur                                          Follow
                                      @KatyTurNBC

                              RNC confirms Salt Lake City debate is cancelled.
                              10:32 AM ­ 16 Mar 2016

                                         108       140




                           According to Utah’s GOP chairman James Evans, more than 50,000 people had already
                           signed up for debate tickets.


                           The Republican National Committee added this debate to the last in February. When
                           Trump announced earlier today that he would not participate, he noted that the
                           somewhat last-minute scheduling had caught him off guard.


                           Shortly after the republican frontrunner announced he would drop out, Ohio Gov. John
                           Kasich’s oﬃce said he would not participate either.

                           BuzzFeed News has reached out to the Salt Palace Convention Center.



                           Posted at 9:01 a.m., Mar. 16


                           Kasich Aide Says He Will Not Go To Fox News Debate If
                           Trump Doesn’t




                           Tony Dejak / AP Photo


                           John Weaver, a top strategist for presidential candidate John Kasich, said Wednesday
                           that the Ohio governor would not participate in Fox News’ debate on March 21 in Utah
                           due to Trump’s having backed out.

                           Weaver tweeted that it was “no surprise” that Trump would want to avoid “contrast,”
                           and added that if the real estate developer followed through on his announcement, that
                           Kasich would visit Utah on Friday.




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                                     John Weaver                                         Follow
                                     @JWGOP

                              No debate in SLC Monday due to Trump backing out. No
                              surprise Trump avoiding contrast. Utah: @JohnKasich headed
                              your way Fri.
                              7:01 AM ­ 16 Mar 2016

                                       48      50




                           If Trump changed his mind, however, Weaver said
                           Kasich would attend the debate.

                                     John Weaver                                         Follow
                                     @JWGOP

                              If Trump changes his mind ­­ as Carson said there are 2 Trumps
                              ­­ we will be there. Positive contrasts nicely with division. #Sybil
                              7:05 AM ­ 16 Mar 2016 · Maple Heights, OH

                                       15      20




                           —Tamerra Griﬃn



                           Posted at 8:47 a.m., Mar. 16


                           Florida Gov. Rick Scott Endorses Donald Trump For
                           President




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                                                                                                       ­ BuzzFeed News
                                      David Mack                                        Follow
                                      @davidmackau

                              Just In: Florida Gov. Rick Scott endorses Donald Trump for
                              president
                              8:45 AM ­ 16 Mar 2016

                                         44        24




                           Posted at 7:31 a.m., Mar. 16


                           Trump Delegates With Foreign-Sounding Names
                           Receive Fewer Votes From Trump Supporters




                           Michael B. Thomas / Getty Images


                           Voting patterns from yesterday’s primary in Illinois suggest that Trump delegates with
                           foreign-sounding names earned less ballots from Trump supporters than their
                           counterparts.


                           In Illinois, voters are instructed to elect three delegates to the Republican National
                           Convention, and each delegate is tied to a particular candidate.


                           One editor noticed early Wednesday morning a
                           possible relationship between the Trump delegates’ last
                           names and voter support.

                                      Dave Wasserman                                    Follow
                                      @Redistrict

                              This is big: Trump voters' aversion to candidates w/ foreign­
                              sounding names cost him at least 2 delegates. Example:
                              chicago.cbslocal.com/election­resul…
                              10:26 PM ­ 15 Mar 2016

                                         399        299




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                           As the Washington Post reported, Trump’s three delegates in the sixth district are Paul
                           Minch, Barbara Kois, and Nabi Fakroddin. Minch earned the most votes at 35,435, and
                           Kois trailed closely behind with 35,120, a drop-off of about 315 votes.


                           Fakroddin, however, placed sixth, winning 30,639 votes. Because of Fakroddin’s low
                           numbers, Trump only walked away with two of his three delegates’ votes in that district.
                           Kasich picked up the third.


                           A similar thing happened in the 13th district.


                           Raja Sadiq, a potential Trump delegate, again placed sixth behind two others — Doug
                           Hartmann, who won, and Toni Gauen, who placed ﬁfth. Compared to Hartmann, Sadiq
                           earled about 8,000 fewer votes.

                           “It’s not clear if Sadiq and Fakroddin would have suffered the same fate had they been
                           delegates for candidates who hadn’t espoused a harshly anti-Muslim position,” the Post
                           reported, acknowledging the diﬃculty in comparing this trend with other candidates
                           because none of them appeared to have foreign-sounding last names.


                           —Tamerra Griﬃn



                           Posted at 6:14 a.m., Mar. 16


                           Trump Will Not Attend Fox News Debate On March 21
                           In Utah




                           Win Mcnamee / Getty Images


                           Trump announced during a phone interview on Fox News on Wednesday morning that
                           he would not participate in the network’s debate on March 21 in Salt Lake City, Utah.


                           “I thought the last debate on CNN was the last debate, was going to be it,” the
                           Republican frontrunner said. “I think we’ve had enough debates.”

                           He appeared to suggest that he was not prepared for another debate to be scheduled
                           at all, according to The Hill.


                           “How many times can the same people ask you the same question?” Trump asked.
https://www.buzzfeed.com/buzzfeednews/live­updates­we­are­not­exaggerating­tuesdays­primaries­will?utm_term=.ka4kNEAwx#.wnB5o8ZDj   8/19
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                           This is not the ﬁrst time Trump has turned down an invitation to a debate hosted by Fox
                           News. In January, months after a controversial comment he made about Fox News’
                           Megyn Kelly, Trump refused to attend a debate because of Kelly’s involvement.


                           In recent months, the two appeared to have eased the tensions between them. But on
                           Tuesday, Trump called Kelly “Crazy Megyn” on Twitter.


                           The real estate developer also predicted that riots could ensure if he lost the
                           nomination at the Republican National Convention in July.


                           Trump said during a CNN interview on Wednesday that if he wound up being 10 or 20
                           votes short of the nomination, “and somebody else is at 500 or 400 cause we’re way
                           ahead of everybody, I don’t think you can say that we don’t get it automatically.”


                           “I think you’d have riots,” he added, according to Bloomberg.


                           —Tamerra Griﬃn



                           Posted at 10:29 p.m., Mar. 15


                           Missouri Race Is Too Close To Call
                           The Republican and Democratic races in Missouri were neck and neck as of early
                           Wednesday morning. With 100% of the precincts reporting the margins were less than
                           1% for both parties — which means that the losing candidate can ask for a recount,
                           according to the AP.


                           As of 1:30 a.m. in the Democratic race, Clinton was at 49.6% or 310,363 votes and
                           Sanders had 49.4% or 308,808 votes, according to the state’s oﬃcial count.


                           For the Republicans it was a virtual dead heat between Trump and Cruz. Trump pulled
                           in 381,720 votes (40.8%), while Cruz had 380,084 votes (40.7%).

                           –Jessica Simeone



                           Posted at 9:55 p.m., Mar. 15


                           Sanders’ Momentum Runs Out




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                           Ralph Freso / Getty Images


                           After an upset win in Michigan, everything seemed to be coming up Bernie but as the
                           results came in Tuesday, it was apparent that the momentum fell short.


                           In the weeks following Michigan, the campaign was looking forward to races in states
                           where Sanders felt more conﬁdent, he was competing for the black vote and
                           capitalizing on some Clinton stumbles. But in the end, Clinton bested him in Florida,
                           Ohio, Illinois and North Caroline, with results in Missouri too close to call as of early
                           Wednesday.


                           Read more from BuzzFeed News’ Evan McMorris-Santoro about the Sanders
                           campaign’s loss of momentum on Tuesday here.



                           Posted at 8:36 p.m., Mar. 15


                           Kasich Celebrates With Confetti Storm




                           Brendan Smialowski / AFP / Getty Images


                           Kasich was practically buried in a blizzard of confetti after his big win Tuesday night
                           because he allegedly complained about the lack of confetti when he pulled in second

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                           in New Hampshire last month, a campaign staffer told BuzzFeed News.


                           Check out more about Kasich and his confetti storm here.



                           Posted at 8:19 p.m., Mar. 15


                           Cruz Remains Hopeful Despite Losses To Trump




                           Charles Ledford / Getty Images


                           Cruz painted the Republican contest as a two man race between him and Trump in a
                           speech to supporters, despite the fact he had yet to win any of the ﬁve states holding
                           primaries on Tuesday night.


                           “Tonight was a good night,” he optimistically told his backers in Houston. “Tonight we
                           continued to gain delegates and continue our march to 1,237.”

                           The Texas senator said he was eager and willing to welcome supporters of Rubio after
                           the Florida senator ended his presidential bid Tuesday night, saying now was the time
                           for the party to unite behind him.


                           “Starting tomorrow morning, there is a clear choice, a clear and direct choice,” he said,
                           “And for everyone who wants to see a bright tomorrow we welcome you to our teams,
                           we welcome you with open and welcoming arms.”

                           Cruz said he was ready to take up the anti-Trump mantle because he is the only
                           candidate who has beaten the real estate mogul “over and over again.”


                           He attempted to woo voters to his camp by painting Trump as a wolf in Republican’s
                           clothing, and himself as the true conservative ﬁghting for the party’s core values.


                           “Going forward, do you want a candidate who supports your values, or do you want a
                           candidate who has opposed your values for decades?” he asked.

                           He also blamed the media for giving Trump what he called an unfair amount of
                           attention, accusing them of a conspiracy to boost Trump to ensure a Clinton victory in
                           the general election.


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                           “Trump is the one person Hillary Clinton can beat,” he said.


                           As of this writing, Trump and Cruz are in close battle for the Missouri primary, the only
                           of Tuesday’s primaries that is outstanding for the Republicans.



                           Posted at 8:14 p.m., Mar. 15


                           Sanders: “You do not have to accept the status quo. We
                           can do better.”




                           Scott Olson / Getty Images


                           On Tuesday night, Bernie Sanders rallied his supporters in Phoenix after sustaining
                           primary losses to Hillary Clinton.


                           “You do not have to accept the status quo. We can do better,” Sanders said. “Don’t let
                           people tell you that you can’t think big.”

                           The senator from Vermont went down a list of issues, including ﬁnancial inequality,
                           immigration reform, and the criminal justice system, that he pledged to change if he’s
                           elected president. Sanders reaﬃrmed his commitment to increasing social security and
                           ending huge tax breaks for the wealthy. Senior citizens and disabled vets should not
                           have to make ends meet with $11,000 or $12,000 a year, he said.


                           “We will be judged as a nation not by how many millionaires and billionaires we have
                           but by how we treat the weakest and most vulnerable amongst us,” Sanders said. He
                           singled out the Walton family, who own a majority of the Walmart company.


                           Sanders also said he would use the president’s executive power to move
                           comprehensive immigration reform forward if it stalls in Congress. “They are tired of
                           living in the shadows, they are tired of living in fear and being exploited,” Sanders said.


                           Sanders also took on Clinton by highlighting her vote in favor of the Iraq War and
                           money she received from Super PACs and Wall Street ﬁrms.


                           He ended his speech by calling people of all races and backgrounds to unite. “If we
                           stand together there is nothing we cannot accomplish,” Sanders said.

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                           —Adolfo Flores



                           Posted at 7:52 p.m., Mar. 15


                           “Good Job, Corey,” Trump Tells Embattled Campaign
                           Manager After Tuesday Victories




                           Win Mcnamee / Getty Images




                                  Speaking from his Palm Beach, Florida club, Mar-a-Lago, Trump crowed about
                                  his victory in the state — with his embattled campaign manager Corey
                                  Lewandowski at his right and his son Eric Trump at his left.


                                  Trump and Lewandowski have pulled off a near sweep of today’s primaries
                                  and caucuses — winning Florida, Illinois, North Carolina, and the Northern
                                  Mariana Islands, while Ohio’s governor John Kasich won his home state.


                                  “Good job Corey,” Trump said, “and Hope (spokesperson Hope Hicks) and
                                  our whole squad.”

                                  Otherwise Trump gave a version of his standard stump speech, lambasting
                                  trade deals, crowing over his poll numbers, and promising to win for America.


                                  “More importantly than anything else we’re going to start winning again, this
                                  country doesn’t win anymore, we don’t win with our military, we don’t win
                                  with trade.”



                           —Matthew Zeitlin


                           Read more here.
                           buzzfeed.com




                           Posted at 7:25 p.m., Mar. 15

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                                      Kasich’s Big Win Over Trump Increases Chances Of
                                      Contested Convention
                                      Kasich secured a win in the Ohio primary Tuesday night and took 66 delegates with
                                      him. The Ohio governor defeated Trump for his ﬁrst primary win. The win will make it
                                      harder for Trump to secure the Republican nomination and increases the chances of a
                                      chaotic contested convention in July, BuzzFeed News’ Tarini Parti reported.


                                      “With a narrowing ﬁeld, Gov. Kasich is the candidate best positioned to go toe-to-toe in
                                      the remaining states,” Kasich’s chief campaign strategist John Weaver said.


                                      Read the full report here.


                                                                                                 more updates



                                                                                                                                   More ▾




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   Tagged:presidential primaries 2016, clinton, cruz, kasich, rubio, sanders, super tuesday part 2, trump                       In The News Today
                                                                                                                                  Travelers are concerned their laptops
                                                                                                                                  will be stolen now that the US is
                                                                                                                                  banning electronic devices from being
                                                                                                                                  carried on ﬂights coming from the
                                                                                                                                  Middle East.

                                                                                                                                  Some GOP senators are urging
                                                                                                                                  caution in dismissing Trump's
                                                                                                                                  wiretapping claims — despite the FBI
                                                                                                                                  and NSA saying there's no evidence it
                                                                                                                                  occurred.

                                                                                                                                  A witness in a US case against the
                                                                                                                                  largest money laundering scheme in
                                                                                                                                  Russian history mysteriously plunged
                                                                                                                                  from his apartment window.

                                                                                                                                  Mariah Carey revealed she's making a
                                                                                                                                  movie based on her iconic song "All I
                                                                                                                                  Want For Christmas Is You" 🎄🎅



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                                                                                                           The New Handbook For
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                                                                                                             Written By Russia
                                                                                                                by Sheera Frenkel

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                                                                                                  Trump’s Critics Are Letting The Bigger
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                                                                                                  A Murder In Berkeley Gave The Far-
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                                                                                                  The Man Who Taught Donald Trump To
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                                                                                                  The Softening Of Kellyanne Conway




                                                                                                  A Wall Divides Latin America — But Not
                                                                                                  The One You’re Thinking Of




                                                                                                  The Far Right’s Most Common Memes
                                                                                                  Explained For Normal People




                                                                                                  This Student’s Secret Abortion Shows
                                                                                                  Why Thousands Of Irish Women Will
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                                                                                                  Nashville’s Last Taboo? Country Music
                                                                                                  Stars Are Tiptoeing Around Trump




                                                                                                  Here’s What Parental Leave Is Really
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                                                                                                  Coal In "Freefall": The World Is
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                                                                                                  Plants




                                                                                                  Please Enjoy This Insane Trailer For
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                                                                                                  Controversial Four Week Wait For Dole
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                                                                                                  This Guy Catﬁshed Someone For Two
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                                                                                                  63 Photos That’ll Take Every Aussie On
                                                                                                  A Trip Down Memory Lane




                                                                                                  Here’s What Happened On "Married At
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                                                                                                  There’s A Prosecco-Flavored Edible
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                                                                                                  A Magazine Fell For A Fake Telegram
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                                                                                                  This Guy Was Attacked By A Crocodile
                                                                                                  While Trying To Impress A Girl And She
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                                                                                                  Chrissy Teigen And John Legend Are
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   Trump And Clinton Own Super Tuesday
   With Victories From The South To                                                                    In The News Today
   Northeast                                                                                             Travelers are concerned their laptops
   BuzzFeed News reporter Evan McMorris-Santoro is with Bernie Sanders in Vermont;                       will be stolen now that the US is
                                                                                                         banning electronic devices from being
   Rosie Gray is with Ted Cruz in Texas; McKay Coppins is with Rubio in Florida; and
                                                                                                         carried on ﬂights coming from the
   Ruby Cramer is with Hillary Clinton.
                                                                                                         Middle East.
   Originally posted on Mar. 1, 2016, at 11:20 a.m.
   Updated on Mar. 2, 2016, at 2:48 p.m.                                                                 Some GOP senators are urging
                                                                                                         caution in dismissing Trump's
                 BuzzFeed News                                                                           wiretapping claims — despite the FBI
                 BuzzFeed Staff                                                                          and NSA saying there's no evidence it
                                                                                                         occurred.

                                                                                                         A witness in a US case against the
                                                                                                         largest money laundering scheme in
                                                                                                         Russian history mysteriously plunged
                                                                                                         from his apartment window.

                                                                                                         Mariah Carey revealed she's making a
                                                                                                         movie based on her iconic song "All I
                                                                                                         Want For Christmas Is You" 🎄🎅



                                                                                                         Download the BuzzFeed News app



   Andrew Harnik / AP




   Quickly catch up on your democracy:
          Here’s the bottom line: Super Tuesday was Donald Trump and Hillary Clinton’s
          night. For full, live updates from the evening and into Wednesday’s aftermath,
          check out our running post and recordings of our Facebook live feeds.
                                                                                                            How Trump's Lawyer
          Clinton swept up eight of  victories, handily winning the Southern vote and                    Placed A Big Casino Bet
          solidifying her momentum against a once-insurgent Bernie Sanders for the                            That Left Dozens
          Democratic nomination.                                                                               Empty­Handed
          Donald Trump won seven of  states up for grabs in the GOP contests — many                         by Anthony Cormier
          of them in the South but also Massachusetts and Vermont.

          Ted Cruz won the GOP primary in Texas, his home state, and in Oklahoma,                       Connect With               USNews
          staving off strong challenges by Trump.
                                                                                                         Like Us On Facebook
          The victories also give Cruz a big talking point for the other candidates to drop
          out — namely that he is the only Republican to hand Trump his three losses so
                                                                                                         Follow Us On Twitter
          far. The other was Iowa.



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       Sanders made his speech early after winning his home state of Vermont and
       reminded supporters that he could still pull in a huge amount of delegates and
       remain competitive. He won four states.                                                  News moves fast. Keep up with
                                                                                                the BuzzFeed News daily email.
       Clinton’s victories are signiﬁcant because she attracted large support from black
       voters, who largely went to President Obama in .
                                                                                              Your Email Address            Sign up
       For the Democrats, Clinton won Georgia, Virginia, Tennessee, Massachusetts,
       Alabama, Arkansas, Texas and American Samoa. Sanders won Vermont,
       Oklahoma, Colorado, and Minnesota.
                                                                                             More News
       On the GOP side, Trump won Arkansas, Alabama, Georgia, Virginia,
       Massachusetts, Vermont and Tennessee. Cruz won Alaska, Oklahoma and Texas.
       Marco Rubio won Minnesota.




                                                                                             Trump’s Critics Are Letting The Bigger
                                                                                             Russia Story Slide




                                                                                             A Murder In Berkeley Gave The Far-
                                                                                             Right Its Perfect Perp




                                                                                             The Man Who Taught Donald Trump To
                                                                                             Pit Gay People Against Immigrants




                                                                                             The Softening Of Kellyanne Conway




                                                                                             A Wall Divides Latin America — But Not
                                                                                             The One You’re Thinking Of




                                                                                             The Far Right’s Most Common Memes
                                                                                             Explained For Normal People
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                                                                                              Why Thousands Of Irish Women Will
                                                                                              Strike Next Week




                                                                                              Nashville’s Last Taboo? Country Music
   BuzzFeed News                                                                              Stars Are Tiptoeing Around Trump



   Hillary Clinton and Donald Trump solidiﬁed their positions as the candidates to beat
   for the Democratic and Republican presidential nominations on Super Tuesday,
   notching sweeping victories from the South to New England.


   Both Clinton and Trump tellingly used their victory speeches to look forward to the        Here’s What Parental Leave Is Really
   general election, implying that their challengers have dropped too far down in either
                                                                                              Like Around The World
   momentum or the delegate count to catch up.


   Clinton told her supporters to keep ﬁghting as the campaign moved to “the Crescent
   City, the Motor City” and beyond.

   “We have come too far to stop now,” she said to a raucous crowd, looking energetic.
   “We have to keep going, keep working, keep breaking those barriers and imagine             Egypt’s Feared Spy Agency Has Hired
   what we can build together when each and every American has the chance to live up
                                                                                              Some DC Lobbyists To Clean Up Its
                                                                                              Image
   to his or her own God-given potential.”


   Trump, instead of holding a victory rally, conducted a lengthy press conference at his                   More News
   Mar-a-Lago Club. New Jersey Gov. Chris Christie, who shocked the Republican
   establishment by endorsing Trump, opened for the candidate.


   “Were going to be a much ﬁner party, a uniﬁed party, and a much bigger party,” Trump       Now Buzzing
   said in a long speech that rambled from international trade policy to the Common
   Core and women’s health. “You can see that happening now. Our party is expanding.”


   “I would like to see the Republican party get together and unify,” Trump said. “And
   when we do, there is nobody — nobody — that can stop us.”

   Ted Cruz defeated Trump in his home state of Texas and Oklahoma and Alaska — a
                                                                                              Coal In "Freefall": The World Is
                                                                                              Suddenly Building A Lot Fewer Coal
   relief for the senator, who faced a stiff challenge from Trump in both states. Cruz will
                                                                                              Plants
   use those victories to say the other GOP candidates should clear from the ﬁeld so he
   can directly challenge Trump.
                                                                                                            More Buzz
   “So long as the ﬁeld remains divided Donald Trump path to the nomination remains
   more likely,” Cruz said at his rally. Cruz used his entire stump speech to attack Trump.




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   Until Tuesday, Cruz had been the only person to defeat Trump in primaries, having
   won Iowa.

   But on Tuesday, Marco Rubio, who has been struggling to convince mainstream
   Republicans that they should support him, pulled out a win in Minnesota, but had a
                                                                                             Please Enjoy This Insane Trailer For
   lackluster night overall. And John Kasich surprisingly challenged Trump in Vermont,
                                                                                             Lindsay Lohan’s New TV Show
   but couldn’t secure the win.



   BuzzFeed News went live on Facebook with our
   coverage. Here’s a spot with host Gavon Laessig and
   Editor-in-Chief Ben Smith:
                                                                                             Controversial Four Week Wait For Dole
                                                                                             Dumped From Welfare Changes




                                                                                             This Guy Catﬁshed Someone For Two
                                                                                             Years By Faking A Female Voice And
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     Posted by BuzzFeed News
     37,324 Views                                                                            Here’s What Happened On "Married At
                                                                                             First Sight" This Week, LMAO I Thought
   Facebook: video.php                                                                       It Was The Finale



   And here’s politics reporter Andrew Kaczynski:


                                                                                             There’s A Prosecco-Flavored Edible
                                                                                             Nail Polish Because Why Not




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                                                                                             Nixon To "Retire Bitch"




                                                                                             This Guy Was Attacked By A Crocodile
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                                                                                             Doesn’t Even Care




                                                                                             Chrissy Teigen And John Legend Are
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                                                                                             Vacation In Morocco



     Trump Comments On Howard Stern
     Posted by BuzzFeed News
     44,315 Views

   Facebook: video.php
                                                                                             LA City Employees Barred From
                                                                                             Helping Federal Immigration
                                                                                             Authorities
   Here’s some other highlights from Super Tuesday:
   And follow our running live updates post.



   Christie Seemed Super Sad And/Or Pissed During                                            Who Hurt You?
   Trump’s Victory Speech




               Ben Shapiro                                      Follow
               @benshapiro

       If Christie blinks in Morse code, he's being held hostage.
       6:56 PM ­ 1 Mar 2016
                 981     1,577


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   One person said he seemed like he was going to “cry, faint or throw up.”

   Read this and decide for yourself.



   Everyone — Democrats and Republicans alike —
   attacked Donald Trump as the day went on.
   Here’s Hillary Clinton:

   “I was very disappointed that he did not disavow what appears to be support from
   David Duke and the Klan. That is exactly the kind of statement that should be
   repudiated upon hearing it,” she said. “We can’t let organizations and individuals that
   hold deplorable views about what it means to be an american be given any credence
   at all.”

   Here’s Republican Sen. Lindsey Graham:

   “I think it’s pretty clear that people in my party have risen to the occasion generally
   when it comes to denouncing Mr. Trump,” he said. “I’m running of adjectives.”

   Here’s Francisco Valle, 74, who made a “Stop Trump” swastika sign:


   “I am here because I want to make awareness of a movement that is very dangerous
   to all the minorities because Hitler started the same way,” he said. “He blamed the
   Jews for all the problems and now Trump is blaming the Mexicans for the problems.”


   Here’s Valle’s sign:




             Rosie Gray                                         Follow
             @RosieGray

      Seen outside polling place in Houston. Cruz will vote here
      shortly
      8:42 AM ­ 1 Mar 2016

               375        578



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   An educated, liberal couple caused a stir on social
   media for saying they might vote for Trump:




             Sebastian Payne                                    Follow
             @SebastianEPayne

      Fascinating letter in today's @FT from a Midwestern couple
      contemplating voting Trump
      3:17 AM ­ 1 Mar 2016

               169      110




   A letter in the Financial Times Tuesday attracted attention online because it was
   written by a liberal couple who said they were considering voting for Donald Trump,
   even though “we are not the sans-culottes you see as the prototypical Trump voter.”

   In the letter, Jon and Elsa Sands, who describe themselves as socially liberal aﬄuent
   Americans, believe Trump is the only option even as they compare voting for him to
   voting for a “tameable Hitler in 1933.”


   Elsa Sands, 65, told BuzzFeed News that she and her Harvard-educated husband,
   Jon, are not the “nutcases” that the media makes out Trump voters to be.




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   Sands, who teaches English to refugees and described herself as a big supporter of
   refugee resettlement, said that even though Trump is a “big jerk, brash, over the top
   and egomaniacal” he was also a “big-mouth pragmatist who can get things done.”


   She said that with a “corrupt Hillary, silly little Rubio, and mean-spirited Ted Cruz,”
   they have “nowhere else to go” besides Trump, even though she admitted she was
   nervous about considering voting for him.


   “It’s a very scary hope, if we vote for him, that he might be pragmatic and listen to
   advisers,” Sands said. “It’s a sorry state we’ve come to that we have Trump running
   out there and we’re considering voting for him.”



   And now, ﬁnally, there is Bernie Sanders-themed beer:




   Evan McMorris-Santoro




   Perhaps the Vermontiest moment of Bernie Sanders’ Vermont-based campaign for
   president came at noon on Super Tuesday.


   That’s when the Zero Gravity Craft Brewery on Pine Street here oﬃcially debuted
   Bernie Weisse, “a slightly sour and forward-thinking Berliner Weisse” beer, according
   to the brewery’s promotional materials.

   The beer is available in draft and cans for a limited time and is the central hook for
   Zero Gravity’s election watch party Tuesday night.



   Additional reporting by Tasneem Nashrulla, Nicolas Medina Mora, Stephanie McNeal,
   Molly Hensley-Clancy, and Ema O’Connor in New York and Ellen Cushing in San
   Francisco.




                                                                                More ▾




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   Developing...

   Live Updates: Clinton, Trump Prevail In Big Super
   Tuesday Contests
   BuzzFeed News reporter Evan McMorris-Santoro is with Bernie Sanders in Vermont; Rosie Gray is with Ted Cruz in Texas; McKay
   Coppins is with Rubio in Florida; and Ruby Cramer is with Hillary Clinton.

   posted on Feb. 28, 2016, at 6:56 a.m.



                 BuzzFeed News
                 BuzzFeed Staff




                                                                     AP / Getty Images


   Here’s the latest:
      In the Democratic contest, Hillary Clinton has won in Georgia,
      Virginia, Tennessee, Arkansas, Texas, American Samoa, and
      Massachusetts.

      Bernie Sanders won in Vermont, Oklahoma, Minnesota, and
      Colorado.

      Sanders made his speech early after winning his home state
      of Vermont and reminded supporters that he could still pull in
      a huge amount of delegates and remain competitive.


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     On the GOP side, Donald Trump has won Georgia, Alabama,
     Massachusetts, Tennessee, Arkansas, Vermont, and Virginia.

     Ted Cruz has won Oklahoma, Texas, and Alaska.

     Marco Rubio won in the Minnesota Republican caucuses, his
     ﬁrst victory so far in the nominating contests.




                                                                              BuzzFeed News / Getty Images (7)



                           Updates

                           Posted at 9:05 p.m., Mar. 1


                            Trump Bests Kasich In Vermont, His Seventh Victory On
                            Super Tuesday

                                                                                           Follow

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                                       The Associated Press
                                       @AP

                               BREAKING: Donald Trump wins Vermont. @AP race call at
                               midnight EST. #Election2016 #APracecall #SuperTuesday
                               9:01 PM ­ 1 Mar 2016

                                          220          164




                           Posted at 8:29 p.m., Mar. 1


                            Bernie Sanders Wins The Minnesota Caucus

                                       AP Politics                                       Follow
                                       @AP_Politics

                               BREAKING: Bernie Sanders wins Minnesota. @AP race call at
                               11:23 p.m. EST. #Election2016 #APracecall #SuperTuesday
                               8:23 PM ­ 1 Mar 2016

                                          1,098         1,395



                            The Sanders campaign had eyed Minnesota as a state favorable to their message. The
                            state is very blue and home to Minneapolis-area Rep. Keith Ellison, one of Sanders’
                            most prominent endorsers.



                           Posted at 8:24 p.m., Mar. 1


                            Rubio Wins His First Primary Race In Minnesota




                            Alex Wong / Getty Images


                            Marco Rubio won a decisive victory in the Minnesota caucuses Tuesday night, his ﬁrst
                            victory in the Republican presidential primary.


                            Rubio’s campaign has been plagued with questions from detractors and political
                            observers over whether the Florida senator could actually win a state. His victory in



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                            Minnesota will put those questions to rest for now, but his path to the nomination
                            remains uncertain.



                           Posted at 8:17 p.m., Mar. 1


                            Clinton Wins Massachusetts, While Bernie Is Projected
                            To Take Colorado
                            Hillary Clinton defeated Bernie Sanders in his own backyard on Tuesday night with a
                            win in the Massachusetts primary, bringing her victory count to seven states.

                            Sanders, meanwhile, is projected to win the Colorado caucus, a state where his
                            campaign expected him to do well. A victory in Colorado brings his state win count to
                            three.



                           Posted at 7:55 p.m., Mar. 1


                            In Victory Speech, Cruz Says Trump Nomination Would
                            Be “A Disaster For Republicans”




                            David J. Phillip / AP


                            Texas Senator Ted Cruz attacked Donald Trump and called for the Republican party to
                            “come together” against the real estate mogul in his Super Tuesday victory speech.

                            “So long as the ﬁeld remains divided, Donald Trump’s path to the nomination remains
                            more likely,” Cruz said from the stage in Stafford, Texas after winning that state and
                            Oklahoma. “For those who have supported other candidates, we welcome you on our
                            team, standing united as one. That is the only way to beat Donald Trump.”

                            Cruz called a Trump nomination “a disaster for Republicans,” before criticizing him on a
                            number of issues, including Obamacare and the right to bear arms.


                            “America shouldn’t have a president whose words would make you embarrassed if your
                            children repeated them,” he said.

                            Cruz also made the case that his campaign is the only one that “has beaten, can beat,
                            and will beat Trump’s … Head to head, our campaign beats Donald Trump
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                            resoundingly.”

                            —Ellen Cushing



                           Posted at 7:39 p.m., Mar. 1


                            Christie Seemed Super Sad During Trump’s Victory
                            Speech




                            Twitter


                            Last week, ex-presidential candidate and New Jersey Gov. Chris Christie surprised
                            many when he chose to endorse Donald Trump as the Republican nominee. So on
                            Super Tuesday, Christie introduced Trump in Florida after the real estate mogul won
                            several states. The governor then stood behind Trump as he gave his victory speech.
                            His gloomy demeanor during Trump’s talk prompted viewers to wonder: “Governor
                            Christie, u ok?”


                            Read more here.

                            —Stephanie McNeal


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                                                   Trump Prevail In Big on
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                                                                                     Contests ­ BuzzFeed News               Page 37 of 66

                           Posted at 7:24 p.m., Mar. 1


                            Donald Trump Wins Arkansas, His Sixth Super Tuesday
                            Victory

                                        The Associated Press                             Follow
                                        @AP

                               BREAKING: Donald Trump wins Arkansas. @AP race call at
                               10:18 p.m. EST. #Election2016 #APracecall #SuperTuesday
                               7:18 PM ­ 1 Mar 2016

                                           387        291




                           Posted at 7:20 p.m., Mar. 1


                            Trump In Victory Speech: “Our Party Is Expanding”




                            Aaron P. Bernstein / Getty Images


                            After a cascade of victories in primaries across the country Tuesday, Donald Trump
                            made a pitch for his ability to build and unite the Republican party.


                            “Were going to be a much ﬁner party, a uniﬁed party, and a much bigger party,” Trump
                            said in a long speech that rambled from international trade policy to the Common Core
                            and women’s health. “You can see that happening now. Our party is expanding.”


                            Speaking in Florida, the home of Marco Rubio, Trump presented himself as an anti-
                            establishment candidate, butting up against the “special interests and the lobbyists”
                            who he said would push for a Rubio victory in Florida.


                            Introducing Trump, Chris Christie, who endorsed Trump last week, argued for the
                            candidate’s ability to “bring together” both the Republican party and the American
                            people. “This is not a campaign, it’s a movement,” Christie said. “America wants to
                            come together.”



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                            Trump said that he could bring together Americans that are typically outside of the
                            Republican base in a “more diverse” Republican party — those, like women and
                            minorities, who many have said he is in danger of alienating. “We’re going to do great
                            with the African Americans,” he said. “We’re going to do great with the Hispanics and
                            it’s because I’m going to create jobs.”

                            Trump also turned his political outsider rhetoric to Hillary Clinton, who he criticized for
                            having been in the political world for decades. “She’s been there for a long period of
                            time, why haven’t they done anything about it?”


                            But Trump said repeatedly that he didn’t believe Clinton would be allowed to run in the
                            presidential race. “I believe what she did is a criminal act,” he said.


                            “I would like to see the Republican party get together and unify,” Trump said. “And
                            when we do, there is nobody — nobody — that can stop us.”



                           Posted at 6:58 p.m., Mar. 1


                            Rubio: “The Presidency Of The United States Will Never
                            Be Held By A Con Artist”




                            Jim Mone / AP


                            Marco Rubio gave an impassioned speech to supporters in his home state of Florida on
                            Super Tuesday, despite having not won a single state as of 9:30 PM ET.


                            Rubio spent some time praising his fellow Floridians, and said many in his audience
                            understand the American dream because they were raised as ﬁrst-generation citizens.


                            “Here in this community we have been raised by people from outside of Florida,” he
                            said, later adding, “We know that the things that make America special are not an
                            accident.”


                            He proclaimed that this dream was in “trouble,” and called on his supporters to stand
                            up for him to keep the dream alive.



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                            “We are going to send a message that the party of Lincoln and Reagan and the
                            presidency of the United States will never be held by a con artist,” he said.


                            Sticking with the American dream theme, Rubio said that under his leadership, America
                            would thrive and become better than before.


                            “We will expand it to reach more people than ever,” he said.


                            —Stephanie McNeal



                           Posted at 6:44 p.m., Mar. 1


                            NBC News Apparently Confused Maryland With
                            Vermont On Super Tuesday




                            Twitter


                            Some eagle-eyed readers caught a hiccup in NBC News’ Super Tuesday coverage.
                            Twitter users say that the network tweeted an image of Maryland when it meant to
                            indicate Vermont, prompting some crab-by online comments.

                            Read more here.


                            —Stephanie McNeal



                           Posted at 6:22 p.m., Mar. 1



                            Bernie Sanders Gets His Second Victory Of The Night In
https://www.buzzfeed.com/buzzfeednews/live­updates­super­tuesday­is­coming­and­all­eyes­are­on­tru?utm_term=.vuRV7JWMj#.ijzp2Y4b5           8/16
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                            Bernie Sanders Gets His Second Victory Of The Night In
                            Oklahoma
                            Bernie Sanders has won Oklahoma, in his second victory of the night.


                            The Sanders campaign had targeted Oklahoma as a state where they could make
                            inroads with a working-class electorate that may often vote Republican in a general
                            election.



                           Posted at 6:20 p.m., Mar. 1


                            Clinton Targets Trump In Super Tuesday Victory Speech




                            Joe Raedle / Getty Images


                            Hillary Clinton used her victory speech after winning six states on Super Tuesday to
                            attack Donald Trump, all but ignoring her rival for the Democratic nomination for
                            president, Bernie Sanders.


                            “We know we’ve got work to do,” Clinton told a cheering crowd in Miami, Florida.”But
                            that work is not making America great again. America never stopped being great.”


                            Clinton did mention her Democratic rival to congratulate him on his lone victory, but
                            the bulk of her speech was dedicated to creating alternative versions of some of
                            Trump’s most recognizable slogans.

                            “Instead of building walls, we are going to take down barriers!” Clinton said.


                            Clinton closed her speech by repeating a line that she insists represents her core
                            beliefs.


                            “I know it may be unusual for a presidential candidate to say this, but I’m going to keep
                            saying it,” Clinton said. “I believe what we need in America today is more love and
                            kindness.”



                           Posted at 6:07 p.m., Mar. 1


                            Clinton, Cruz Win In Texas
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                            Clinton, Cruz Win In Texas




                            J Pat Carter / Getty Images


                            Hillary Clinton and Ted Cruz each claimed victory in Texas, the state with the most
                            delegates at stake on Tuesday night.


                            Cruz, the senator from Texas, saw the Lone Star state as a must-win for his campaign.
                            Donald Trump had suggested in recent days that he could win in state, handing Cruz a
                            crushing defeat. Cruz also won Oklahoma, another state where Trump was thought to
                            be competitive.

                            Clinton’s victory reinforces her dominance in the southern portion of the United States.



                           Posted at 5:58 p.m., Mar. 1


                            Trump Wins In Virginia, Defeating Marco Rubio




                            Aaron P. Bernstein / Getty Images


                            Donald Trump has won the Republican primary in Virginia.
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                                      Virginia brings the businessman’s Tuesday win count to ﬁve states. His victory in
                                      Virginia is expected to be narrow, with Rubio in second place and Texas Sen. Ted Cruz
                                      in a distant third.



                                      Posted at 5:37 p.m., Mar. 1


                                      Clinton Wins Arkansas
                                      Clinton has won Arkansas, the state where she was ﬁrst lady and where the Clinton’s
                                      have a long history.


                                      Clinton, so far, has won ﬁve states and American Samoa on Super Tuesday.


                                                                                                more updates




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                                                                                                                                         caution in dismissing Trump's
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                                                                                                                                         and NSA saying there's no evidence it
                Ashlee Tester · Pastry Assistant at Primland
                                                                                                                                         occurred.
                Trump has no qualms condemning the Pope, black people, women, hispanics,                                                 A witness in a US case against the
                muslims, etc, etc.                                                                                                       largest money laundering scheme in
                                                                                                                                         Russian history mysteriously plunged
                But he won't condemn the KKK because he doesn't have 'enough info'.
                                                                                                                                         from his apartment window.
                Like · Reply ·     225 · Feb 29, 2016 1:51pm
                                                                                                                                         Mariah Carey revealed she's making a
                           Lisa Paffel
                                                                                                                                         movie based on her iconic song "All I
                           I cannot like this hard enough. Yes.
                                                                                                                                         Want For Christmas Is You" 🎄🎅
                           Like · Reply ·     9 · Mar 1, 2016 9:49am

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                      Ben Richard · Bradley, Maine
                      Earlier last year, two Boston men assaulted a Latino homeless man, brutally               Download the BuzzFeed News app
                      beat him, and then urinated on him. They told police they were inspired to do
                      so because of Trump's anti­immigrant screeds.

                      When informed of this incident, Trump replied: “I will say that people who are
                      following me are very passionate. They love this country and they want this
                      country to be great again. They are passionate.”
                      Like · Reply ·   14 · Mar 1, 2016 4:59pm

                      Crissi Mora · University of Washington
                      Reagan Lynn Adams pot­kettle­black
                      Like · Reply ·   2 · Mar 1, 2016 7:27pm
                                                                                                                   Why Is Donald Trump
               Show 5 more replies in this thread
                                                                                                                    So Obsessed With
                                                                                                                      Surveillance?
            Marisa D. Richmond · The University of Kansas
            Trump is leading by THAT much? My God... this truly is a nation of idiots. It looks like all
                                                                                                                        by Aram Roston
            the white males showed up to vote today... Just great. ­__­
            Like · Reply ·   84 · Mar 1, 2016 9:20am                                                           Connect With            USNews
                      Jeff David
                      Calling us a nation of idiots and then making an insinuation that white males             Like Us On Facebook
                      are the idiots (stereotyping of course). Only on Buzzfeed lol. Luckily, a lot of
                      succesful people that the media tries to pretend wouldn't vote for Trump,                 Follow Us On Twitter
                      regardless of race, are voting because him addressing trade deficits, the debt,
                      illegal immigration, etc. are real issues to people you probably dont hear from
                      much. Thus your shock.
                      Like · Reply ·   10 · Mar 1, 2016 2:07pm · Edited

                      Marisa D. Richmond · The University of Kansas
                      Jeff David, I actually wasn't trying to insinuate that all white males are idiots,       News moves fast. Keep up with
                      though I can certainly see how it came out that way. However, white males are            the BuzzFeed News daily email.
                      the only people I can imagine voting for Drumpf because he supports white
                      male power and is racist and sexist.
                                                                                                             Your Email Address            Sign up
                      Like · Reply ·   13 · Mar 1, 2016 2:13pm

                      Marisa D. Richmond · The University of Kansas
                      Buster P. Wilson, I don't like his views on war (bombing and advocating for war
                      crimes) or his treatment of other races, women, and the middle class. The man
                                                                                                            More News
                      is a horrible person who no one should want representing the countrry.
                      Like · Reply ·   8 · Mar 1, 2016 2:39pm


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            Chandler Fann
            Never seen a shitshow like this election. If HIlary (God forbid) wins the primary I will        Trump’s Critics Are Letting The Bigger
            have to vote for her. I am NOT going to say I didn't do anything to prevent the                 Russia Story Slide
            tyrannical, sexist, racist Trump from getting into office. But please don't put me in that
            situation where I have to vote for Hilary
            Like · Reply ·   74 · Mar 1, 2016 7:49am

                      Shelly Maree · Los Angeles, California
                      Dude, totally where I'm at. I've been firmly standing behind Gary Johnson, but
                      if it really looks like Trumo could take the presidency, I'll have to vote for her
                      just to do everything I can to stop him.
                                                                                                            A Murder In Berkeley Gave The Far-
                      Like · Reply ·   8 · Mar 1, 2016 2:30pm
                                                                                                            Right Its Perfect Perp
                      Chandler Fann
                      Shelly Maree yep. He's doing more harm to the election than Repubs think.
                      The right wingers that dont like Trump will stay home and then you're basically
                      handing it to hilary
                      Like · Reply ·   4 · Mar 1, 2016 2:38pm

                      Ben Richard · Bradley, Maine
                      I very badly want Bernie to be president, but I'll eagerly vote for Jeb if it means
                      keeping Trump or Cruz out of the White House.

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                      Like · Reply ·   8 · Mar 1, 2016 5:06pm                                               The Man Who Taught Donald Trump To
                                                                                                            Pit Gay People Against Immigrants
               Show 7 more replies in this thread



            Hannah Augsburger · Kent State University
            I swear if I have to choose between Hillary or Trump I'm just not going to vote.
            Like · Reply ·   41 · Feb 29, 2016 6:24pm

                      Casey Calpin · Metropolitan State University of Denver
                      probably not a good idea. that is literally how trump wins.                           The Softening Of Kellyanne Conway
                      Like · Reply ·   87 · Mar 3, 2016 12:12am · Edited

                      Kaiti Laughter
                      That is a terrible idea! Do you seriously want Donald Trump to be your
                      President? I am not a Hillary fan, but I would vote for a talking dog before I
                      would let that egotistical, racist, bigoted, and all around disgusting disgrace of
                      a human being Donald Trump run my country. Voting is IMPORTANT. Don't tell
                      me that Hillary is worse than Trump, that is a near impossible feat to achieve.
                      You are so fortunate to have the right to be able to help decide the future of        A Wall Divides Latin America — But Not
                      your country, YOUR future, do not take it for granted.                                The One You’re Thinking Of
                      Like · Reply ·   72 · Mar 1, 2016 4:42am

                      Cristina Martí­Amarista de Schmidt
                      That attitude you have now is the same 47% of Venezuelans had on 1998
                      presidential election, that 47% didn't vote and Chavez won the elections and
                      destroyed my country. Please, think more about that, remember, your vote is
                      not only a right, it is also your duty.
                      I know that today that 47% regret they did not vote for Salas­Roemmer in 1998
                      ... In my country we say "look at your self in other person mirror", look at          The Far Right’s Most Common Memes
                      yourself in a venezuelan's mirror (We didn't think we will end as Cuba, as you        Explained For Normal People
                      may think your country would never end as Venezuela), and the right think to
                      do will come immediately to your mind: Vote!
                      Trump is a piece of s... as Chavez was.
                      Like · Reply ·   26 · Mar 1, 2016 6:47am · Edited


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            Swanee Griffin
                                                                                                            This Student’s Secret Abortion Shows
            I feel like Im in a twilight zone. This primary race is what happens in a straight to Netflix   Why Thousands Of Irish Women Will
            shtick comedy. This cannot be real.
                                                                                                            Strike Next Week
            Like · Reply ·   17 · Mar 1, 2016 2:55pm

                      Jackie Skellie · Roanoke, Texas
                      I feel the same.
                      Like · Reply · Mar 1, 2016 6:36pm

            Sane Nobles · Hampton, Georgia
            Jim Gilmore is a good example of what is wrong with the Republican party (well, not all
            of it, of course). They don't care what they are endorsing or voting for, they just know        Nashville’s Last Taboo? Country Music
            what they are against. They are against anyone that Obama nominates for Supreme
                                                                                                            Stars Are Tiptoeing Around Trump
            Court regardless of who it is. They will support Trump as long as it's not a Democrat.

            What the hell is wrong with our elected officials, and the people who vote for them.

            *cries and jumps off curb*
            Like · Reply ·   9 · Mar 1, 2016 2:51pm

            Andrew Davis · Solutions Architect at Unspecified Global Corporation
            Delegates are delegates whether super or not. Last time I checked Hillary had 548 to
                                                                                                            Here’s What Parental Leave Is Really
            Bernie’s 87. After today she will have what? 600 more? Making her lead something
                                                                                                            Like Around The World
            close to 800 delegates. Even if Bern runs more or less neck in neck the rest of the time
            he could not catch up at that point. Sad part is he and his cult following will probably get
            a case of sore ass and run third party thus ensuring Trump will win. Then again as bad
                                                                                                                          More News
            as he is I would rather have Trump than either one of those Bible thumping morons
            who are running against him.
            Like · Reply ·   9 · Mar 1, 2016 1:19pm · Edited

                      Marty Schneck · Content Marketer at Thomson Reuters
                      #1) No they're not the same, superdelegates haven't actually voted yet, and
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                      #1) No they're not the same, superdelegates haven't actually voted yet, and
                      won't vote until July. That's like saying Hillary already won all the states that
                      haven't had caucuses or primaries yet because people say they're going to
                      vote for her, so might as well just say she wins and that's it.

                      #2) Bernie isn't going to run third party. But his supporters are not necessarily
                      all Democrats, most are independents, some are former Republicans. They
                      have no allegiance to Hillary Clinton. Their votes will be split between Hillary,      Egypt’s Feared Spy Agency Has Hired
                      Donald Trump, and third party (I assume Jill Stein).                                   Some DC Lobbyists To Clean Up Its
                                                                                                             Image
                      My prediction though is that the majority just won't vote. And Hillary will lose the
                      general election because she and her ignorant, insulting supporters alienated
                      an entire sector of the democratic voting populace. So thanks.
                      Like · Reply ·   9 · Mar 1, 2016 1:51pm                                                Now Buzzing
                      Marisa D. Richmond · The University of Kansas
                      I think you are wrong for insulting Bernie supporters by calling them a "cult".
                      Honestly, what is wrong with supporting students, education, and minority
                      rights (women, Hispanics, Muslims, Blacks, etc.)? These are the reasons I
                      support Bernie Sanders; not because I'm hypnotized into some kind of cult. I
                      do agree with you that Ted Cruz is much scarier than Donald Drumpf, but
                      Donald Drumpf can't stick to one stance for more than five minutes, so he's
                      pretty scary himself.                                                                  Coal In "Freefall": The World Is
                      Like · Reply ·   6 · Mar 1, 2016 4:08pm
                                                                                                             Suddenly Building A Lot Fewer Coal
                                                                                                             Plants
                      Josh Groll · Chicago, Illinois
                      Marty Schneck If someone is actually going to not vote for Hillary because
                      they're sore about Bernie loosing thats a vote FOR Trump. They can go bite a
                      brick.
                      Like · Reply ·   2 · Mar 1, 2016 5:56pm


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                                                                                                             Please Enjoy This Insane Trailer For
            Chris Roll · Owner at Dragon's Gate Comics                                                       Lindsay Lohan’s New TV Show
            I was initially excited by the lineup of candidates we had to choose from this election
            cycle. There were some interesting people on both sides, and I was glad to see there
            were some outsiders and unknowns in the race. I was especially excited for Dr. Ben
            Carson ... and then the excitement faded a few debates in when I realized the poor guy
            really wasn't ready for the big time. So then I was excited for Rand Paul, who had a
            goodly amount of his dad's libertarian appeal with a bit less of the crazy. But then his
            campaign crapped out, and now I'm left kinda­sorta hoping Cruz or Rubio can pull
            ou... See More
            Like · Reply ·   3 · Mar 1, 2016 5:17pm
                                                                                                             Controversial Four Week Wait For Dole
                                                                                                             Dumped From Welfare Changes
                      Heather McFeatherton · Paranormal Scientist at Night Vale Municipality
                      You lost all credibility when you mentioned you were excited for Carson. The
                      man is a crazy zealot and completely ignorant about every subject necessary
                      for a president to understand. He's as big a joke as Dump, he just got less air
                      time.
                      Like · Reply ·   5 · Mar 1, 2016 7:59pm

                      King Kagem · Operations Manager at Wilson Raphael
                      Heather McFeatherton I couldn't agree more. Dr Carson is barking mad.                  This Guy Catﬁshed Someone For Two
                      Like · Reply · Mar 2, 2016 5:55am                                                      Years By Faking A Female Voice And
                                                                                                             It’s Iconic
            Jac Beddore · Kyoto, Japan
            Seriously, you guys?! Only 1% of the votes have been tallied in MOST of these states!
            How can you say "Hillary won [this state]" when poles haven't even been tallied?!
            Like · Reply ·   5 · Mar 1, 2016 5:43pm

                      Josh Groll · Chicago, Illinois
                      Exit polls are actually very good predictors.
                      Like · Reply ·   3 · Mar 1, 2016 5:57pm
                                                                                                             63 Photos That’ll Take Every Aussie On
            Fernando Julca Inuma · Santa Ana, California                                                     A Trip Down Memory Lane
            What happened to us as a country? We have to choose between a racist douche bag
            and a serial flip flopping liar. To be completely honest, I don't believe Trump; he just
            says what people want to hear. So I might just vote for him                                                    More Buzz
            Like · Reply ·   2 · Mar 1, 2016 7:46pm

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                                                                                                   Here’s What Happened On "Married At
                                                                                                   First Sight" This Week, LMAO I Thought
                                                                                                   It Was The Finale




                                                                                                   There’s A Prosecco-Flavored Edible
                                                                                                   Nail Polish Because Why Not




                                                                                                   A Magazine Fell For A Fake Telegram
                                                                                                   From McDonald’s Telling President
                                                                                                   Nixon To "Retire Bitch"




                                                                                                   This Guy Was Attacked By A Crocodile
                                                                                                   While Trying To Impress A Girl And She
                                                                                                   Doesn’t Even Care




                                                                                                   Chrissy Teigen And John Legend Are
                                                                                                   Sharing Stunning Photos From Their
                                                                                                   Vacation In Morocco




                                                                                                   LA City Employees Barred From
                                                                                                   Helping Federal Immigration
                                                                                                   Authorities




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          POLITICS




         Donald Trump Supporters Aren’t That                                                                        In The News Today
                                                                                                                      Travelers are concerned their laptops
         Excited To Vote For Down-Ballot                                                                              will be stolen now that the US is
                                                                                                                      banning electronic devices from being
         Republicans                                                                                                  carried on ﬂights coming from the
                                                                                                                      Middle East.
         In swing states across the country, Trump’s biggest fans are getting ready to hold
         their noses and begrudgingly support incumbent GOP senators.                                                 Some GOP senators are urging
                                                                                                                      caution in dismissing Trump's
         posted on Sept. 21, 2016, at 5:00 a.m.
                                                                                                                      wiretapping claims — despite the FBI
                                                                                                                      and NSA saying there's no evidence it
                       Tarini Parti                                 Kyle Blaine
                       BuzzFeed News Reporter                       BuzzFeed News Reporter                            occurred.

                                                                                                                      A witness in a US case against the
                                                                                                                      largest money laundering scheme in
                                                                                                                      Russian history mysteriously plunged
                                                                                                                      from his apartment window.

                                                                                                                      Mariah Carey revealed she's making a
                                                                                                                      movie based on her iconic song "All I
                                                                                                                      Want For Christmas Is You" 🎄🎅


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                                                                                                                        The New Handbook For
                                                                                                                          Cyberwar Is Being
                                                                                                                          Written By Russia
                                                                                                                             by Sheera Frenkel

                                                                                                                      Connect With                Politics
         WASHINGTON, DC - MAY 17: Sen. Patrick Toomey (R-PA) and Sen. Rob Portman (R-OH) ® head for the
         weekly Senate Republican policy luncheon in the U.S. Capitol May 17, 2016 in Washington, DC. Chip
         Somodevilla / Getty Images                                                                                   Like Us On Facebook


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         ASTON, Pennsylvania — Barbara Herbus, a local school district administrator in
         Pennsylvania, is an unabashed and enthusiastic Donald Trump supporter. Last week,
                                                                                                                      Follow Us On Apple News
         she was “thrilled to have Trump at her doorstep” in Aston, just outside of
         Philadelphia and is more than ready to cast her vote for the nominee she believes
         has “a servant’s heart” in November.                                                                         Subscribe to our RSS feed


         But ask her about Sen. Pat Toomey, the incumbent Republican senator on the ballot,
         and she’s lukewarm. She can’t quite put her ﬁnger on why she’s concerned about

https://www.buzzfeed.com/tariniparti/donald­trump­supporters­arent­that­excited­to­vote­for­down?utm_term=.dcd7bxPMl#.vopE8nYQV                                   1/5
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         him, and vaguely said that “he talks about changing Social Security” as a reason for
         her trepidation. A friend sitting in front of Herbus quickly tried to correct her: “But
         that other girl McGinty is going to raise our taxes by $3,000. Don’t get me started.”
         The two argued a bit over which candidate was richer, ultimately deciding that                 News moves fast. Keep up with
         personal wealth shouldn’t inﬂuence how they planned to vote. Herbus wasn’t                     the BuzzFeed News daily email.
         entirely convinced, but ultimately said she would probably vote for Toomey. Other
         than Social Security and child care, Herbus said an issue she cared about was                Your Email Address            Sign up
         keeping “In God We Trust.” “Because they’re taking it out of a lot of things.”


         In swing states across the country, Donald Trump’s biggest fans — like Herbus — are         More News
         getting ready to hold their noses and vote for incumbent GOP senators. They’re far
         more excited to vote for their presidential nominee, and like the fact he’s an outsider
         with zero political experience. But in many cases, that translates to a healthy dose of
         skepticism towards establishment Republicans like Toomey, Ohio Sen. Rob Portman,
         and Florida Sen. Marco Rubio.


         Vulnerable down-ballot Republicans are counting on these die-hard Trump voters              Trump’s Critics Are Letting The Bigger
         and have had to be careful in any criticism against their presidential nominee, as          Russia Story Slide
         they balance winning over moderates and independents at the same time. Rubio,
         Portman, and Toomey are all in tough re-election races. For now, polls show all three
         incumbents running ahead of Trump and being able to keep his supporters while
         winning over others.


         Trump supporters at his rallies in Pennsylvania, Ohio, and Florida last week said they
         were just starting to tune into down-ballot races, and don’t necessarily love what          A Murder In Berkeley Gave The Far-
         they see.                                                                                   Right Its Perfect Perp

         Angel Gonzalez, was at a Miami event for Trump and took issue with Rubio’s criticism
         of Trump. “I haven’t done enough research to determine if I really will vote for him or
         not,” he said.


         “Right now I will tell you no. Just for the simple reason, how can you turn your back
         to your nominee. I mean, I don’t get it. If you are in the Republican Party, and you        The Man Who Taught Donald Trump To
         considered yourself a Republican, how can you not stand for your party to begin             Pit Gay People Against Immigrants
         with? So if you are telling me your parents are from Cuba, and you are for Cubans,
         excuse me? I don’t get it. What have you really done for us?”


         Anne Sweeney, a retiree from Aston who attended the same event as Herbus in
         Pennsylvania, said she liked Toomey’s strong position against sanctuary cities, but
         she wasn’t excited to cast her ballot for him. “I’m excited to not vote for her,” she
         said, referring to McGinty.
                                                                                                     The Softening Of Kellyanne Conway

         Attendees at Trump rallies in other states also said their vote was more about being
         against the Democratic option.


         “What would be the alternative, you know, voting for the Democrat?,” said Andres
         Novoa, 24, in Miami, when asked if he would vote for Sen. Marco Rubio. “I mean this
         is a party that completely shown that they have a total disdain for the American
                                                                                                     A Wall Divides Latin America — But Not
         people. Hillary Clinton isn’t alone in saying 25% of Americans are deplorable. That is
                                                                                                     The One You’re Thinking Of
         a sentiment that is rampant upon the American Left. And it seems she just revealed
         too much. She slipped and let her true colors show. And I think the American people
         aren’t stupid. And that’s the problem with Hillary Clinton. She thinks we’re all stupid.”


         But Anthony Mayle, who works in communications in Canton, Ohio, said he didn’t
         want to vote for his senator Rob Portman just because he’s a Republican. “I think the
         Republican Party has lost a lot of face among Republican voters. They campaign on
         one thing and do another.”                                                                  The Far Right’s Most Common Memes
                                                                                                     Explained For Normal People
         Several Trump supporters at different events also said they just didn’t know much
         about the Senate Republicans who represent their states.                                                    More News



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         In Miami, Anthony Yaques, 25, said of Rubio: “Probably, maybe. I haven’t thought
         about it yet. I’ve kind of not really looked at it. I don’t think about the Senate race, I
         don’t think about the congressional race.”


         And in Ohio, Jeremy Taylor, a mental health counselor from Canton, didn’t have too
                                                                                                        This Student’s Secret Abortion Shows
         much to say about Portman. “I don’t know if I like him,” Taylor said, adding he would
                                                                                                        Why Thousands Of Irish Women Will
         probably still vote for him.
                                                                                                        Strike Next Week

         Ryan Beltz, a 33-year-old Canton resident who works in insurance, was the only one
         of the dozen Trump supporters BuzzFeed News spoke with at the Trump event in
         Ohio who went as far as to say he liked Portman.


         “I have a lot of respect for him for when he came out in support of gay marriage,”
         Beltz said, adding as millennial Republican, that was important to him.
                                                                                                        Nashville’s Last Taboo? Country Music
                                                                                                        Stars Are Tiptoeing Around Trump
         But when asked if he was excited to vote for Portman as he was for Trump, Beltz
         responded: “Probably not. But I still plan to vote for him.”


         Tarini Parti reported this story from Aston, Pennsylvania and Canton, Ohio. Kyle
         Blaine reported from Miami, Florida.

           Tarini Parti is a Capitol Hill reporter for BuzzFeed News and is based in Washington, D.C.
           Contact Tarini Parti at tarini.parti@buzzfeed.com.                                           Here’s What Parental Leave Is Really
                                                                                                        Like Around The World
           Kyle Blaine is the deputy politics editor for BuzzFeed News and is based in New York.
           Contact Kyle Blaine at kyle.blaine@buzzfeed.com.

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                  Carlos Lara
                                                                                                              This Guy Catﬁshed Someone For Two
                  Trump followers would be happy if instead of debates, candidates had to compete in a
                  monster truck show.
                                                                                                              Years By Faking A Female Voice And
                                                                                                              It’s Iconic
                  Take note America, this is what happens when you end up betting on ignorance rather
                  than proposing ideas to improve the country.
                  Like · Reply ·   3 · Sep 21, 2016 5:54am · Edited

                  Kris Bennett­ Kelly · Chaniá, Greece
                  "...she believe's Trump has, 'A servant's heart.'" A servant's heart? Does she mean he
                  cut it out of the chest of the butler that didn't get him his Big Mac fast enough? When
                  has he done one gracious/generous thing?
                                                                                                              63 Photos That’ll Take Every Aussie On
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                                                                                                              A Trip Down Memory Lane
                  Gina Tamanini · Pharmacy Intern at Giant Eagle Pharmacy
                  Eh, I see where this is coming from but feel that it can be said about really anyone.
                  Does anyone get as excited for local and state elections as the presidential election?
                  Not really, but we probably should since a lot of changes can happen that directly effect
                  your community as a result of the "smaller" elections.
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                                                                                                              It Was The Finale




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                                                                                                              Nail Polish Because Why Not




                                                                                                              A Magazine Fell For A Fake Telegram
                                                                                                              From McDonald’s Telling President
                                                                                                              Nixon To "Retire Bitch"




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                                                                                                              While Trying To Impress A Girl And She
                                                                                                              Doesn’t Even Care




                                                                                                              Chrissy Teigen And John Legend Are
                                                                                                              Sharing Stunning Photos From Their
                                                                                                              Vacation In Morocco
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                                    Trump is Twitter Entered     on FLSD
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    Donald Trump is Twitter Beeﬁn' with
    Buzzfeed
    BY CHRIS JOSEPH                                                                 WEDNESDAY, FEBRUARY 19, 2014 AT 12:20 P.M.

                                                            Looks like there's a new installment in our Donald
                                                            Trump Is Twitter Beeﬁn' Files.

                                                            We have a theory about Donald Trump. And it's
                                                            this: Donald Trump is the living embodiment of a
                                                            cartoon villain. Not in the sense that a "bad guy"
                                                            wrestler from WWE, or an actor in a bad movie.
                                                            But in the sense that he is, quite literally, a
                                                            cartoon villain.

    That theory plays itself every day on Trump's twitter feed. But never more so than in the past
    couple of days when Trump was insanely butthurt over an article by Buzzfeed.

    It's an article that not only calls Trump out on his bullshittery, but also caused the man such
    distress he ﬁred a top staffer over it.

    See also: Donald Trump and FPL Are Twitter Beefin'

    So buttburt was Trump by the article titled "36 Hours On The Fake Campaign Trail With
    Donald Trump," that he took to his Twitter to ﬁre off insults by calling one of the biggest news
    outlets on the internet "third rate" and dubbed the writer of the article, McKay Coppins and
    Buzzfeed editor Ben Smith "losers."

    Over and over again. Non-stop. Like a petulant child who was caught cheating on his math
    test. A petulant child with a horrible combover.

    Coppins was allowed to tag along with Trump -- including hopping on a jet that ﬂew to Mar a
    Lago in Palm Beach -- to interview The Donald at his South Florida estate.


http://www.browardpalmbeach.com/content/printView/6460018                                                                        1/3
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    Then Coppins published the piece, which was just an account of the vapid and narcissistic
    gold-plated world of Donald Trump and his bizarre self-serving aspirations to be Governor of
    New York. Which is pretty much like his bizarre self-serving aspirations to run for President
    in 2011.

    The gist of the article is that Trump throws his hat into running for political ofﬁce, only to
    step down from the pursuit.

    Trump was so offended by the piece that he revealed just how thin his weirdly pasty skin is
    that he ﬁred top aide Sam Nunberg over the whole thing.

    Nunberg persuaded Trump to allow Coppins access, and grant him an interview.

    "Sam said to me, 'This guy is a friend of mine. It's going to be a great story. I have conﬁdence it
    will be fair.' So I actually did the interview as a courtesy to Sam," Trump told the New York
    Post.

    "But I said to Sam, 'If this guy writes a fair story, that's ﬁne. But if he writes a wise-guy story,
    you'll be ﬁred.' And I said to Sam, 'OK?'

    "And Sam said, 'OK.' ''

    After ﬁring Nunberg, Trump took to Twitter to throw a monumental hissy:


         Bloggers like McKay Coppins & @BuzzFeed are true garbage with no credibility. Record
         setting crowds & speech not reported. @PiersMorgan
         — Donald J. Trump (@realDonaldTrump) February 18, 2014


         Amazing story in @BreitbartNews about the sleazebag blogger Coppins who fabricated
         nonsense about me for irrelevant @BuzzFeed. CONGRATS!
         — Donald J. Trump (@realDonaldTrump) February 19, 2014


         Ben Smith (is that really his last name?) of @BuzzFeed is a total mess who probably got
         his minion Coppins to do what he didn't want to do?
         — Donald J. Trump (@realDonaldTrump) February 19, 2014


         I wonder how much money dumb @BuzzFeed and even dumber Ben Smith loooose
         each year? They have zero credibility - totally irrelevant and sad!
         — Donald J. Trump (@realDonaldTrump) February 19, 2014


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    Trump even referenced an article by a conservative website that "discredits" Coppins and
    Smith.

    All the narcism in Trump's system apparently left no room for a sense of irony.

    As for Coppins, he simply had one response to the whole thing:


         .@realDonaldTrump this is getting sad, donald. time to move on. i wish you all the best.
         — McKay Coppins (@mckaycoppins) February 19, 2014


    And yet, lost in all the noise and yelping is the fact that Donald Trump -- aside from being a
    bloated narcissistic meat sack with the world's worst combover -- is also pretty much a
    raging moron, thus bringing the whole Cartoon Villain Theory full circle with a tweet like this:


         Don't let the GLOBAL WARMING wiseguys get away with changing the name to
         CLIMATE CHANGE because the FACTS do not let GW tag to work anymore!
         — Donald J. Trump (@realDonaldTrump) February 17, 2014


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    Florida Orange Juice Uncovers America's Top
    10 Annoyances
     Partnership with Buzzfeed Helps People "LOL" Through the Day


    PR Newswire Dec 13, 2012 12:30 PM EST

One finalist will be selected each month by the comedic team at Buzzfeed and Florida
Orange Juice. In March, Buzzfeed will select the top contest entry among the three finalists
to be named the "Funniest of the Funny" and win a trip to Chicago, a city that commenced
the careers of some of America's favorite comedians.

For contest updates, rules, and more information, please visit
www.Facebook.com/FloridaOrangeJuice and follow Florida Orange Juice on Twitter at
@OJFromFlorida.

About the Florida Department of CitrusThe Florida Department of Citrus is an executive
agency of Florida government charged with the marketing, research and regulation of the
Florida citrus industry. Its activities are funded by a tax paid by growers on each box of citrus
that moves through commercial channels. The industry employs nearly 76,000 people,
provides an annual economic impact close to $9 billion to the state, and contributes
hundreds of millions of dollars in tax revenues that help support Florida's schools, roads and
health care services. For more information about the Florida Department of Citrus, please
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color, national origin, gender, religion, age, disability, political beliefs, sexual orientation, and
marital and family status. (Not all prohibited bases apply to all programs.)

About BuzzfeedBuzzfeed is the leading social news organization, intensely focused on
delivering high­quality original reporting, insight, and viral content across a rapidly expanding
array of subject areas. Its technology powers the social distribution of content, detects what
is trending on the web, and connects people in real time with the hottest content of the
moment. The site is rapidly growing and reaches more than 25 million monthly unique
visitors. Jonah Peretti, founder & CEO of Buzzfeed, previously co­founded the Huffington
Post. Ben Smith is its Editor­in­chief.

1
  The Florida Orange Juice "Top 10 Annoyances" Twitter scan uncovered the top 10 most
reoccurring challenges or annoyances people face on an everyday basis. Conducted over a
one­week period in September 2012, the scan explored frequently used hashtags including
but not limited to: # fail, # sigh, #ugh, #whyme, #petpeeve(s), #irritating, #frustrating,
#annoying, #soannoying, #thatjusthappened, #omg, #smh, #fml or #seriously.

For more information contact: Jennifer DavisGolinHarris 312­729­4248
jdavis@golinharris.com

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  The Caucu
  The Politic and Government log of The New York Time

  Social Media Site Creates Buzz With
  Convention Parties
  By Michael Barbaro and Ashley Parker                          September 3, 2012 6:32 pm


                    At the Republican convention last week, the big bash sponsored by BuzzFeed at
             the Florida Aquarium in Tampa was among the most exotic and most talked about,
             featuring mermaids (undulating in full fin alongside fish in glass tanks) and
             penguins (sitting adorably in little wagons, with a helpful handler reminding revelers
             that, yes, even cute penguins do bite).


             Capturing the scene at the Democratic National Convention.

                    So the pressure is on for the social media Web site, which is now known as
             much for its political coverage as for pictures of cute animals, to put on something
             memorable for the Democrats.

                    On Tuesday evening, BuzzFeed will take over Discovery Place, the science
             museum in Charlotte, N.C., and allow conventioneers to mix with other party
             animals: an iguana and a tortoise. The space also offers a rain forest room (complete
             with waterfall), an aquarium bar and a “touch tank” so visitors can pet the hermit
             crabs and sea urchins.

                    No word yet on whether or not there will be cats.




https://thecaucus.blogs.nytimes.com/2012/09/03/social­media­site­creates­buzz­with­convention­parties/                              1/2
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          NYTimes, BuzzFeed join forces


          By DYLAN BYERS | 06/18/12 09:41 AM EDT


          The New York Times and BuzzFeed have announced that they will join forces for the
          Democratic and Republican conventions. Per the Times's press release:




http://www.politico.com/blogs/media/2012/06/nytimes­buzzfeed­join­forces­126462                                             1/2
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          “
                  ... NYTimes.com plans to present a robust online video report
                  during both conventions, including expanded live segments
          with New York Times reporters and editors. There will also be expanded
          video segments featuring Times Opinion writers and columnists.

          The convention video coverage will also include segments featuring Ben
          Smith, editor in chief of BuzzFeed, and members of his political team.
          Additionally, The Times will collaborate with Smith and his staff on
          segments for TimesCast Politics in the months leading up to the
          conventions.

          “We think BuzzFeed’s energy and keen ear for how political stories play
          out in the social sphere will be a valuable and interesting contribution to
          The Times’s video presence,” said Jim Roberts, assistant managing editor
          of The New York Times.

          “We are thrilled to work with such a respected news organization as The
          New York Times, and one that understands and values online reporting,”
          said Smith.


          On Twitter, television industry veteran Jonathan Wald proposed: "BuzzTimes."




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